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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               AT BOWLING GREEN

BURKESVILLE HARDWOODS, LLC, )
      PLAINTIFF                     )
                                    )
VS.                                 )
                                    )
TRAVIS COOMER                       )                CIVIL ACTION NO. 1:18-cv-18-GNS
                                    )
AND,                                )
                                    )
UNKNOWN DEFENDANT NO. 1             )
                                    )
AND,                                )
                                    )
UNKNOWN DEFENDANT NO. 2,            )                        (Electronically Filed)
                                    )
      DEFENDANTS                    )
____________________________________)


                        AGREED AMENDED SCHEDULING ORDER

       This matter having come before the Court upon the agreement of the parties, as is

evidence by respective counsels’ signatures being affixed hereto below, and the Court noting that

the Agreed Amended Scheduling Order is jointly agreed, and the Court being otherwise

thoroughly and sufficiently advised;

       It is hereby ordered that the following deadlines shall be observed in this action:

       (1)    No later than July 2, 2019, the parties shall file all motions to join additional

       parties. All motions to amend the pleadings shall be filed by the parties no later than

       July 15, 2019.

       (2)    No later than October 1, 2019, counsel for the Plaintiff shall disclose the

       identity of any person who may be used at trial to provide expert testimony under Fed. R.

       Civ. P. 26(a)(2)(A). By that date, Plaintiff shall submit written reports from any expert


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      witnesses who are retained or specially employed as required by Fed. R. Civ. P.

      26(a)(2)(B). If the witness is not required to provide a written report, Plaintiff’s

      disclosure shall include for each witness the subject matter on which the witness is

      expected to present evidence under Fed. R. Evid. 702, 703 or 705 and a summary of the

      facts and opinions which the witness is expected to testify, in conformance with Fed. R.

      Civ. P. 26(a)(2)(C).

      (3)    No later than November 1, 2019, counsel for the Defendant shall disclose the

      identity of any person who may be used at trial to provide expert testimony under Fed. R.

      Civ. P. 26(a)(2)(A). By that date, Defendant shall submit written reports from any expert

      witnesses who are retained or specially employed as required by Fed. R. Civ. P.

      26(a)(2)(B). If the witness is not required to provide a written report, Defendant’s

      disclosure shall include for each witness the subject matter on which the witness is

      expected to present evidence under Fed. R. Evid. 702, 70, or 705 and a summary of the

      facts and opinions to which the witness is expected to testify, in conformance with Fed.

      R. Civ. P. 26(a)(2)(C).

      (4)    No later than August 15, 2019, the parties shall complete all pretrial fact

      discovery. The discovery depositions of all expert witnesses shall be completed no later

      than December 1, 2019. All written discovery requests shall be submitted to the

      opposing parties so that the due date is in advance of the discovery deadline. Motions

      pertaining to unresolved discovery and scheduling disputes may not be field without

      first having a joint telephonic conference with the Magistrate Judge arranged

      though    this   court    room    deputy,    Kelly   Lovell,    at   270-393-2507,    or

      kelly_lovell@kywd.uscourts.gov. Any agreed amendments to the Scheduling Order



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      shall be submitted to the Court in the form of an agreed order. ALL MOTIONS

      PERTAINING TO DISCOVERY SHALL BE FILED NO LATER THAN

      FIFTEEN (15) DAYS AFTER THE CLOSE OF ALL DISCOVERY.

              Non-waiver of attorney-client privilege or work-product protection. Pursuant

      to Fed. R. Evid. 502(d), neither the attorney-client privilege nor work-product protection

      are waived by disclosure connected with this litigation. Further, the disclosure in this

      action shall not operate as a waiver in any other federal or state proceeding. As defined in

      Fed. R. Evid. 502(g), “attorney-client privilege” means the protection that applicable law

      provides for confidential attorney-client communications’ and “work-product protection”

      means the protection that applicable law provides for tangible material (or its intangible

      equivalent) prepared in anticipation of litigation or for trial.

              Unless otherwise agreed to by counsel, the use of all deposition testimony shall be

      governed by Fed. R. Civ. P. 32, and all depositions taken for trial purposes only shall be

      completed not later than 60 days prior to trial.

      (5)     No later than January 1, 2020, counsel for the parties shall file all dispositive

      motions. This same date is the filing deadline for motions related to the admissibility of

      expert testimony pursuant to Federal Rule of Evidence 702 (Daubert motions).

      (6)     All other limitations set forth in the Report of Parties’ Planning Meeting (DN 10),

      to the extent they are not inconsistent with this Order, are incorporated herein.

      (7)     In the event discovery is completed and neither party anticipates filing dispositive

      motions, or in the event no dispositive motions are filed by the deadline, counsel shall

      notify the Magistrate Judge’s Courtroom Deputy and the case will be set for a status

      conference. Upon resolution of any dispositive motions which are filed, the Court will



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       enter appropriate orders regarding the scheduling of this case toward final resolution, if

       necessary.

       (8)     A telephonic status conference shall be conducted on December 9, 2019, at 9:30

       a.m., CDT. The Court will initiate the call. The telephonic status conference scheduled

       for June 7, 2019, is REMANDED for the Court’s docket.

       (9)     Counsel for the parties shall be contact Kelly Lovell to schedule this matter for a

       settlement conference.

               IT IS SO ORDERED, this: January 2, 2019




Tendered by:


s/Harlan E. Judd, III____________
Harlan E. Judd, IIII
Judd, Satterfield & Associates, PLLC
869 Broadway Avenue
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Bowling Green, Kentucky 42101
Telephone: (270) 904-4141
Facsimile: (888) 590-2842




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Have seen and agree:

s/Hunter Durham w/ permission__
Hunter Durham
Durham & Zornes
130 Public Square
P.O. Box 100
Columbia, KY 42728
For the Defendants, Travis Coomer


s/Harlan E. Judd, III____________
Harlan E. Judd, IIII
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Bowling Green, Kentucky 42101
For the Plaintiff, Burkesville Hardwoods, LLC


Copies to:    Counsel of Record




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